Case 1:23-cv-00032-JPJ-PMS Document 29 Filed 04/05/24 Page 1 of 2 Pageid#: 282




                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF VIRGINIA
                                     ABINGDON DIVISION



 KIRA FERGUSON, individually and                )
   and as the Executrix of the Estate           )
   of WILLIAM S. FERGUSON, dec.                 )
   and                                           )
 SHANNON FERGUSON, in her                       )
   own right,                                   )
                                                 )
        Plaintiffs,                              )
                                                 )
 v.                                             ) Case No.: 1:23-cv-00032-JPJ-PMS
                                                 )
 SUSAN DOONAN BLACKWELL , f/k/a                 )
   SUSAN DOONAN BIELSKI                         )
                                                 )
                                                 )
        Defendant.                               )

                  PLAINTIFFS’ MOTION FOR LEAVE TO FILE
                       FIRST AMENDED COMPLAINT


        Plaintiffs, by counsel, respectfully seek Leave to File a First Amended Complaint

 pursuant to FRCP 15 (a) (2). This case was removed from the Circuit Court of Wythe County by

 defendant on September 19, 2023. No responsive pleadings have been filed.


        Defendant’s Motion to Dismiss under FRCP 12 (b)(2) for lack of personal jurisdiction is

 pending. Mary Lynn Tate made her first appearance as Virginia and local counsel on behalf of

 Plaintiffs on March 13, 2024. That sequence necessitated initial attention to the briefing schedule

 opposing the motion to dismiss.


       For these reasons, Plaintiffs respectfully ask that this motion seeking leave to

file a First Amended Complaint attached hereto as Ex. 1 be granted.

                                                 1
Case 1:23-cv-00032-JPJ-PMS Document 29 Filed 04/05/24 Page 2 of 2 Pageid#: 283



      Plaintiffs also respectfully request that Docket Item ECF 20 (Amended

Complaint) filed March 22, 2024 be withdrawn.

                                                               PLAINTIFFS
                                                               BY COUNSEL


 /s/ Mary Lynn Tate
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 Co-Counsel for Plaintiffs
                                 Certificate of Service


       I hereby certify that on this 5th day of April 2024, a copy of the foregoing
 PLAINTIFFS’ MOTION FOR LEAVE TO FILE FIRST AMENDED COMPLAINT
 was filed ECF, sent via electronic mail for filing and service on counsel for
 Defendant.

                                                          /s/ Mary Lynn Tate


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